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5
                            UNITED STATES DISTRICT COURT
6
                                 DISTRICT OF OREGON
7                                 MEDFORD DMSION

8    In re the Matter of J.P. and E.P.:
                                                     Civil Action No. 1:24-cv-00648-AA
9
     ARNAUD PARIS,
10                                                   ORDER FOR UNSUPERVISED AND
                               Petitioner,           DIRECT COMMUNICATION WITH
11   and                                             FATHER
12   HEIDI MARIE BROWN,
13
                               Res ondent.
14

15   ORDER FOR UNSUPERVISED AND DIRECT COMMUNICATION WITH
16
     FATHER IS:
17
     ()GRANTED
18

19
     ()DENIED

20   IT IS SO ORDERED.

21   DATED this_ day of April, 2024
22

23
                                                         THE HONORABLE ANN L. AIKEN
24
                                                UNITED STATES DISTRICT COURT JUDGE
25


      ORDER FOR ALTERNATIVE SERVICE BY EMAIL-
      Page 1 of 2                Case No. 1:24-cv-00648-AA
            Case 1:24-cv-00648-AA       Document 7-1       Filed 04/19/24      Page 2 of 2


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4
                                                      Submitted by:
5
                                                      Arnaud PARIS, Pro Per
6

7                                                             ,,,-   -""


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9
                                                      13 rue Ferdinand Duval
                                                      75004 Paris, FRANCE
10                                                    +33.6.88.28.36.41

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13
                                         VERIFICATION
14
           I, Arnaud Paris, declare under penalty of perjmy under the laws of the United States
15   of America that the foregoing is true and correct.
16
     SIGNED AND DATED this 19th day of April, 2024, in Paris, France.
17

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20
                                       Arnaud Paris
21

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     ORDER FOR ALTERNATIVE SERVICE BY EMAIL-
     Page 2 of 2        Case No. 1:24-cv-00648-AA
